                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
                                               )
 v.                                            )      Case No. 1:07-CR-79-7
                                               )
 DWIGHT ROPER                                  )      COLLIER/CARTER


                                             ORDER

        On November 30, 2007, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Dwight Roper’s (“Defendant”) plea

 of guilty to Count One of the Indictment, the lesser included offense of conspiracy to distribute

 cocaine base (“crack”), in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C), in exchange for

 the undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in Count One of the Indictment; (c) that a decision on

 whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall remain

 in custody pending sentencing in this matter (Doc. 117). Neither party filed an objection within the

 given ten days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report

 and recommendation (Doc. 117) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment in exchange for the

 undertakings made by the government in the written plea agreement is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and




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       (4) Defendant SHALL REMAIN in custody pending.

       SO ORDERED.

       ENTER:


                                      /s/
                                      CURTIS L. COLLIER
                                      CHIEF UNITED STATES DISTRICT JUDGE




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